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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                PALM BEACH DIVISION

                                  CASE NO.:
  DUQUESNE SAINT-SURIN,

        Plaintiff,

  vs.

  THE BREAKERS PALM BEACH, INC.,
  A Florida Limited Liability
  Company,

       Defendant.
  __________________________________|

                      COMPLAINT AND DEMAND FOR JURY TRIAL

  1.    Plaintiff, DUQUESNE SAINT-SURIN, by and through his undersigned attorney,

        alleges the following against Defendant, THE BREAKERS PALM BEACH, INC.,

        a Florida corporation, and states, to wit:

                                          PARTIES

  2.    At all times material to this action, Plaintiff, DUQUESNE SAINT-SURIN, is/was a

        resident(s) of Palm Beach County, Florida, is over the age of 18, and is

        otherwise sui juris.

  3.    At all relevant times, Defendant, THE BREAKERS PALM BEACH, INC., is a

        Florida corporation, located in Palm Beach County, Florida.

                               JURISDICTION AND VENUE

  4.    The Court has jurisdiction over the lawsuit because the suit arises under the Age

        Discrimination in Employment Act (“ADEA”), 29 U.S.C. §621, et seq., including
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       incorporated provisions of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

       §201 et seq.

  5.   Venue is proper in the Southern District of Florida pursuant to 42 U.S.C. § §

       2000e-

       5(f)(3), Title VII “Venue”; and 28 U.S.C. § § 1391(b) and ( c) (Venue g enerally).

                 EXHAUSTION OF ADMINISTRATIVE PROCEDURES

  6.   Plaintiff, DUQUESNE SAINT-SURIN, timely filed with the Equal Employment

       Opportunity Commission (“EEOC”) a Charge of Discrimination against

       Defendant, THE BREAKERS PALM BEACH, INC. Plaintiff, DUQUESNE SAINT-

       SURIN, received a Notice of the Right to Sue from EEOC within ninety (90) days

       of the filing of this Complaint. A copy of the each Right to Sue Notice Letter from

       the EEOC is attached as Exhibit “1".

                         DISCRIMINATION UNDER THE ADEA

  7.   Plaintiff, whose age is 58 years, is an employee within the meaning of the ADEA

       and belongs to the class of employees protected under the statute, namely,

       employees over the age of 40. {See 29 U.S.C. §§630(f), 631 (a).}

  8.   For over 21 years Plaintiff was employed by Defendant as a food server in

       Defendant’s banquets department, and during his employment, he was not

       subject to any disciplinary action by Defendant. Plaintiff was never provided

       any documentation of poor performance, and never orally told that he was not

       meeting the company’s performance standards.

  9.   Defendant is an employer within the meaning of the ADEA, is engaged in an

       industry affecting commerce, and has twenty (20) or more employees for each


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        working day in each of 20 or more calendar weeks in the current or preceding

        calendar year. {See 29 U.S.C. §630(b).}

  10.   Defendant intentionally discriminated against Plaintiff because of his age (56

        years old at the time of his termination) in violation of the ADEA in the following

        manner, to wit:

        i.     On October 14, 2021, Defendant terminated Plaintiff’s employment based

               on the perception that Plaintiff had COVID-19, and that despite his

               knowledge of having Covid-19, Plaintiff worked on September 18, 2021,

               and on September 19, 2021, in violation of the Defendant’s health and

               safety policy;

        ii.    However, Plaintiff had worked the entire September 18, 2021, without any

               health issues. Plaintiff reported to work on September 19, 2021, because

               he was feeling fine and did not have any symptom or indication of a

               possible Covid-1 infection.

        iii.   At the end of his shift on September 19, 2021, Plaintiff asked if he could

               go home because he had a scratchy throat and other employees were

               being allowed to go home. Plaintiff’s supervisor authorized him to leave

               early.

        iv.    Plaintiff was off on September 20, 2021, (a scheduled rest day), but

               returned to work on September 21, 2021.

        v.     On September 22, 2021, Plaintiff’s manager sent a SMS ("text") message,

               asking how he was feeling. Plaintiff replied that he was feeling fine.

               However, Plaintiff’s manager instructed Plaintiff to remain at home in


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               quarantine, to get treatment and to take a Covid-19 test before returning

               to work. Plaintiff did not have Covid-19.

       vi.     Plaintiff forwarded, via SMS/text message, Walgreens' message regarding

               the Covid-19 test results to his supervisor. On September 28, 2021,

               Plaintiff’s supervisor replied (via text), "Duke please go to take another

               test." Plaintiff’s supervisor instructed him to contact HR to let them know

               whether he wanted to use his accumulated sick or vacation days for those

               days that he missed.

       vii.    On September 29, 2021, Plaintiff went to the MD Center for a Covid-19

               test.

       viii.   On October 1, 2021, Plaintiff’s supervisor texted him that "No one has

               heard from you in days, including HR, with your result." The supervisor’s

               allegation was false, as a litany of contemporaneous communications

               between Plaintiff and Defendant had taken place. Moreover, Defendant

               had not scheduled Plaintiff to work during this time

       ix.     On October 2, 2021, Plaintiff received a message from Defendant,

               informing him that his PRC test was scheduled for October 4, 2021.

       x.      Defendant asked Plaintiff for his insurance card and driver license, which

               he provided. On October 5, 2021, Defendant confirmed that it had a copy

               of Plaintiff’s insurance card and driver license.

       xi.     Plaintiff sent Defendant the results of his Covid-19 test from MD Now

               Medical. The Covid-19 test results were negative. Defendant called

               Plaintiff to inform him that he was cleared to return to work and that it


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                would send Plaintiff’s information to Plaintiff’s manager to schedule him

                for work.

        xii.    However, on October 13, 2021, Plaintiff received a text message from his

                supervisor, asking him if he was available for a follow up phone call at

                1:00 pm. The next day (October 14, 2021) Defendant terminated Plaintiff.

        xiii.   On September 19, 2021, Plaintiff’s supervisor called him to inform him

                told that he should resign.

  11.   During Plaintiff’s employment and after his termination on October 14, 2021,

        Defendant replaced older, more tenured employees, including Plaintiff, with

        younger, less experienced workers to staff its food and beverage operations.

                                         DAMAGES

  12.   As a direct and proximate result of Defendant’s conduct, Plaintiff suffered the

        following injuries and damages:

        i.      Plaintiff was discharged from employment with Defendant;

        ii.     Although Plaintiff has diligently sought other employment, Plaintiff has

                been unable to find a job at comparable pay;

        iii.    In addition, Plaintiff has incurred expenses in seeking other

                employment (describe in detail, if any), and has had to pay for medical

                treatment that otherwise would have been covered by the health

                benefits plan offered by Defendant;

        iv.     Plaintiff suffered loss of his pension or retirement benefits;

        v.      Plaintiff seeks compensation for all lost wages and benefits, including

                loss of Social Security benefits. Reinstatement of Plaintiff in his


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                previous position is impracticable and unworkable. Therefore, Plaintiff

                seeks an award of front pay and retirement benefits to compensate him

                up to the mandatory retirement age of ( );

         vi.    Defendant’s conduct was an intentional and willful violation of the

                ADEA. Plaintiff is entitled to an award of liquidated damages within the

                meaning of he ADEA and the FLSA.

                               ATTORNEY FEES & COSTS

  11.    Plaintiff is entitled to an award of attorney fees and costs under the ADEA.

                                  PRAYER FOR RELIEF

  12.    For these reasons, Plaintiff asks for judgment against Defendant for the

         following:

         i.     Injunctive relief to stop an unlawful employment practice; back pay;

                compensatory damages;

         ii.    Prejudgment interest on lost wages and benefits and post-judgment

                interest on all sums, including attorney fees;

         iii.   An award of reasonable attorney fees;

         iv.    An award for the costs of suit.

         v.     Any such other relief as the Court deems proper and just.

                             DEMAND FOR TRIAL BY JURY

         Plaintiff, DUQUESNE SAINT-SURIN, demands a trial by jury in all matters so

  triable.




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  Respectfully submitted on this 10th day of June , 2023.


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